                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION – DETROIT

 In the Matter of:
  JOSEPH G. DUMOUCHELLE, and                          Bank. Case No. 19-54531-lsg
  MELINDA J. ADDUCCI,                                                   Chapter 7
                    Debtors.                                Hon. Lisa S. Gretchko

  THOMAS T. RITTER,                                    Adv. Pro. No. 20-04381-lsg
                           Plaintiff,                       Hon. Lisa S. Gretchko
  v.
  JOSEPH G. DUMOUCHELLE, and
  MELINDA J. ADDUCI,
                     Defendants.


 DEFENDANT’S RESPONSE AND OBJECTION TO PLAINTIFF’S MOTION
FOR SUMMARY JUDGMENT AGAINST DEFENDANT MELINDA ADDUCCI
 UNDER COUNTS III, V, AND VIII OF PLAINTIFF’S SECOND AMENDED
  COMPLAINT AND PLAINTIFF'S BRIEF IN SUPPORT OF THE SAME

       NOW COME the Defendant, Melinda Adduci (“Lindy”), by and through her

 counsel, JOHN R. FOLEY, P.C., who hereby responds to Plaintiff, THOMAS

 RITTER (“Plaintiff”)’s Motion For Summary Judgment Against Defendant Melinda

 Adducci Under Counts Iii, V, And Viii Of Plaintiff’s Second Amended Complaint

 (“Motion”) and Plaintiff’s Brief in Support (“Brief”) of the same, as follows:

                                    Introduction

       Plaintiff’s Motion is short-form and relies entirely on the Brief which it

 incorporates. Therefore, from this point forward, any reference to the “Motion”

 should also be construed to include reference to the Brief, and in some instances,


                                     Page 1 of 22
  20-04381-lsg   Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26    Page 1 of 70
may specifically mean provisions of the Brief.

                            OVERVIEW OF MOTION

      Plaintiff’s Motion, while being brought under Fed.R.Civ.Pro 56(c), actually

seeks the legal remedy of vicarious liability against Lindy, based on facts related to

the actions of former co-defendant JOSEPH G. DUMOUCHELLE (“Joe”). This

can be seen in the Statement of Issues, (Brief, Page ii), in which Plaintiff articulates

that the only issue raised in the Motion is that of Lindy’s alleged vicarious liability

for Joe’s actions.

                RESPONSE TO “I. INTRODUCTION” SECTION

      The fact that the North Dakota Judgement exists, and is against Lindy and Joe

and DuMouchelle Jewelers is not disputed. That, however, is where the “no issue”

and “undisputed” ought to end. Lindy has always disputed, and continues to dispute,

that Plaintiff’s debt was incurred through any action on her part that would be

deemed violative of 11 U.S.C. §523(a)(2), or (4) or (6).

      Further, Lindy disputes that she was “directly involved in the Yellow Rose

Transaction” as alleged by Plaintiff. (Brief, Page 1)

      The contents of the North Dakota Judgment, (Exhibit 1 to Motion/Brief), and

the findings of fact associated therewith, not only do not support Plaintiff’s

contention that he is entitled to judgment as a matter of law against Lindy; but

moreover, run directly against that concept, and in favor of Plaintiff’s claims against



                                     Page 2 of 22
 20-04381-lsg    Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26      Page 2 of 70
Lindy being dismissed altogether.

      Plaintiffs’ summary of the Counts of their own Adversary Complaint appear

to be accurate.

                  RESPONSE TO “II BACKGROUND” SECTION

      Lindy does not dispute the existence of DuMouchelle Jewelers, nor that she

was 10% member, nor that she was “vice president.”

      Contrary to Plaintiff’s assertion, Lindy did not hold herself out publicly as a

“partner” of DuMouchelle Jewelers, and the website, Exhibit 5 to the Motion,

(which is also hearsay within hearsay, without an exception) does not support that

statement. She is not listed on the website as a “partner”, nor does the website state

that she “communicated with DuMouchelle Jewelers customers.” Further, the

statements are irrelevant to this case or this motion. Nowhere in his Complaint does

Plaintiff claim that he viewed or relied on the website of DuMouchelle Jewelers, or

any statements thereon.

      Plaintiff’s assertions under the sections: “Joseph’s Criminal Information”

section (Brief, page 4), “The Plea Agreement” section (Brief, pages 5-6), “The

Guilty Plea Hearing” section (Brief, pages 6-9), “Findings in the Presentence

Opinion” section (Brief, pages 9-10), “Findings in the Sophisticated Means

Opinion” section (Brief, page 10), “Findings in the Forfeiture Order” section

(Brief, page 10) “Findings in the Judgment” section (Brief, page 11) appear to be



                                      Page 3 of 22
 20-04381-lsg     Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26    Page 3 of 70
correct recitations of what transpired regarding Joe, based on the documents attached

thereto in each section; however, they are not relevant to Lindy and Lindy does not

stipulate to these statements.

      Response to “Melinda’s            Direct     Role    in    the   Yellow     Rose
      Transaction Section”

      Plaintiff’s statements here can only be trusted to the extent that they are direct

quotes from Lindy’s discovery responses. For example, contrary to Plaintiff’s false

assertion, never did Lindy, “admit[ed] that she moved Plaintiff’s $12 million

intended for the purchase of The Yellow Rose.” That is simply nowhere in the

discovery responses. Exhibit H.

      The remainder of the allegations in this section, (Brief, Pages 11-13), being

quotations from Lindy’s discovery, are accurate, although incomplete.

      At least one clarification needs to be made. The first section of Lindy’s

response to Interrogatory #4, in her January 6, 2023 Discovery Responses, as

corrected on November 9, 2023, states as follows:

             Melinda Response: I did not negotiate or have knowledge
             of the reasons or details of any of the transfers made. Joe
             negotiated/calculated/effectuated any transfers. My only
             involvement was one day, while I was already in Tucson,
             Arizona, for the AGA Gem Conference (Attachments 8 &
             9) and Joe had missed the closing of the banks in
             Michigan, and the banks in Arizona were still open due to
             the time zone difference, Joe emailed the bank and setup
             the counter-checks/transfers (Attachments 1, 2, & 3) and
             called me and asked that I go to the bank and sign for them.
             (Attachments 4, 5, & 6). Joe simply asked me to go to the

                                     Page 4 of 22
 20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26      Page 4 of 70
             bank and sign if needed, as the only other signer on the
             account. Again, I had no knowledge of what these
             transfers were for, why they were being made, etc. And
             none of that money came to me.


      Response to “The Bankruptcy Proceeding” Section (Page 13)

      Joe & Melinda did not file a voluntary petition for Chapter 7 bankruptcy relief;

rather, they filed for Chapter 11, and were forced to agree to convert to a Chapter 7.

      Melinda does not dispute that Plaintiff filed a Proof of Claim, and that they

duly scheduled his claim on their schedules, as is required by law & rule.

                       RESPONSE TO III. ARGUMENT

      Plaintiff chooses to break his arguments into four Sections, namely:

   A. Plaintiff is entitled to judgment as a matter of law for $16,414,214.61 million
      against Melinda where there are no genuine issues of material fact pertaining
      to her nondischargeable liability.

   B. Plaintiff’s claim against Melinda is nondischargeable under 11 U.S.C.
      §523(a)(2)(A) as a matter of law irrespective of her personal culpability due
      to Joseph’s admissions in the Criminal Proceeding and her ownership and
      involvement in DuMouchelle Jewellers.”
   C. Plaintiff’s claim against Melinda is nondischargeable under 11 U.S.C.
      §523(a)(4) as a matter of law irrespective of her personal culpability due to
      Joseph’s admissions in the Criminal Proceeding and her ownership and
      involvement in DuMouchelle Jewellers.”

   D. Plaintiff is entitled to summary judgment in the full amount of the Yellow
      Rose Judgment Amount of $16,414,214.61.


      Plaintiff’s four sections of argument can be roughly described as follows.



                                     Page 5 of 22
 20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26     Page 5 of 70
         In Section A, Plaintiff argues that 11 U.S.C. §523, on its face, means that

Lindy cannot discharge Plaintiff’s judgment. While Plaintiff does not discuss the

case of Bartenwerfer v. Buckley, 143 S. Ct. 665, 676 (2023), Plaintiff’s argument

here was clearly prompted by a misreading of the Bartenwerfer opinion. This belief

is bolstered by later analysis of Bartenwerfer made by Plaintiff in Sections B & C of

the Brief.

         In Section B of the Arguments, Plaintiff provides a thorough, although

misguided, analysis of Bartenwerfer. Plaintiff argues to this Court that Lindy’s debt

to Plaintiff should be deemed non-dischargeable under 11 USC §523(a)(2)(A), on

the misunderstanding that Bartenwerfer stands for the proposition that merely

because Lindy and Joe were married, and both were members of an LLC, she may

be held vicariously liable for Joe’s actions. This interpretation is incorrect.

         Plaintiff’s Section B arguments are best summarized by two statements in the

Brief:

             A. “Thus, under the plain reading of Sec. 523(a)(2)(A) the fact that the
                $12 million was acquired through Joseph’s admitted fraud, renders
                Plaintiff’s claim against Melinda for that exact debt nondischargeable
                as a matter of law.” (Brief, Page 15)

             B. “The standard of Bartenwerfer similarly applies to the question of
                nondischargeability of Plaintiff’s claim against Melinda pursuant to
                Sec. 523(a)(2)(A). Just like Bartenwerfer, Melinda was in business with
                Joseph through their operation of DuMouchelle Jewellers.” (Brief,
                Page 18)
             C. “Thus, the fact that through Joseph’s admissions, guilty plea and


                                       Page 6 of 22
 20-04381-lsg      Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26     Page 6 of 70
             determinations in the Criminal Proceeding, the debt owing to Plaintiff
             was conclusively a debt incurred through fraud and, therefore, it is a
             debt that is nondischargeable as to Melinda.” (Brief, Page 19)

          D. “The fact that Melinda is both Joseph’s spouse and business partner
             mean that Joseph’s admissions and the findings of fact in Joseph’s
             Criminal Proceeding infer nondischargeability as to Melinda for
             amounts in connection with The Yellow Rose Judgment.” (Brief, Page
             20)

      In Section C, Plaintiff’s arguments are essentially an extension of the analysis

of Bartenwerfer in Section B, but this time applied to 11 U.S.C. §523(a)(4).

Plaintiff’s Section C arguments are best summarized by two statements in the Brief:

          A. “Consistent with Bartenwerfer, the findings in Joseph’s Criminal
             Proceeding can be imputed on Melinda.” (Brief, Page 23)
          B. “Even so, the debt as against Melinda is nondischargeable as a matter
             of law by the mere fact that the debt was incurred through Joseph’s
             admitted larceny. Plaintiff is entitled to a judgment of
             nondischargeability as a matter of law on Count V of his complaint in
             the amount of The Yellow Rose Judgment Amount, $16,414,214.61.”
             (Brief, Page 24)

      Finally, in Section D, Plaintiff makes the astounding claim that because the

Bankruptcy Trustee has not objected to Plaintiff’s Proof of Claim in the bankruptcy

case, Plaintiff is entitled to a full judgment of $16,414,214.61 against Joseph (not

Lindy).

                 RESPONSE TO ARGUMENTS, COMBINED

      Defendant responds to all of Plaintiff’s four argument sections together in the

following analysis.

      Plaintiff Makes 2 Wrong Arguments Regarding Bartenwerfer

                                    Page 7 of 22
 20-04381-lsg   Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26      Page 7 of 70
      Plaintiff’s entire instant Motion is premised upon Plaintiff’s misreading of the

Bartenwerfer opinion, and Plaintiff’s attempts to wrongly apply those

misinterpretations here. Plaintiff incorrectly interprets Bartenwerfer in two ways.

      First, in Section A of his arguments, Plaintiff argues that SCOTUS has now

rendered 11 U.S.C. §523 so broad that any time any person obtained money or

property by action(s) which, under 11 U.S.C. §523(a)(2)(A) would render that debt

non-dischargeable with respect to that debtor, each and every one of their co-debtors

are now automatically unable to discharge that same debt. This interpretation is

incorrect.

      Second, in Sections B & C of his arguments, Plaintiff tries to proverbially“fit

the square beg in the round hole.” Plaintiff attempts to argue that Bartenwerfer

applies here, merely because Joe and Lindy were married, or alternatively, because

they were members in the same LLC. These arguments fail.

      Response to Plaintiff’s First Line of Argument

      With respect to Plaintiff’s first line of argument, that Bartenwerfer rendered

11 U.S.C. §523 so broad that every co-debtor is automatically liable for the fraud of

another co-debtor: nothing could be further from the truth. Contrary to Plaintiff’s

arguments regarding the scope of 11 U.S.C. §523, SCOTUS made it clear that the

imposition of vicarious liability for fraud upon an innocent co-debtor is entirely

based upon underlying state law. In Bartenwerfer, SCOTUS relied on California law



                                     Page 8 of 22
 20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26     Page 8 of 70
regarding liability of partners in a general business partnership. It was not the fact

that the parties were married; it was specifically because the parties were in a general

partnership (not, for example, co-members of an LLC), construed so under

California law, that enabled the SCOTUS to say that vicarious liability was

appropriate, due to state law. Specifically, SCOTUS stated in the Bartenwerfer

opinion as follows:

             It also bears emphasis-because the thread is easily lost in
             Bartenwerfer's argument-that §523(a)(2)(A) does not
             define the scope of one person's liability for another's
             fraud. That is the function of the underlying law-here, the
             law of California. Section 523(a)(2)(A) takes the debt as it
             finds it, so if California did not extend liability to honest
             partners, §523(a)(2)(A) would have no role to play.
             Bartenwerfer's fairness-based critiques seem better
             directed toward the state law that imposed the obligation
             on her in the first place.

             (bold/emphasis added)

      Therefore, Bartenwerfer does not stand for the proposition that suddenly, in

any bankruptcy case, one debtor can now be held liable under §523(a)(2)(A) for the

debts of another.

      This first line of argument requires no further argument.

      Response to Plaintiff’s Second Line of Argument

      Plaintiff’s second line of argument is that somehow Bartenwerfer is

applicable to this case, merely because Lindy and Joe were members of the same

LLC, and were married. This argument is equally non-meritorious.

                                     Page 9 of 22
 20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26      Page 9 of 70
       Frankly, Plaintiff likely understands that Bartenwerfer speaks about

California partnership law, not about 11 U.S.C. §523 generally, nor about any other

kind of business relationship, because Plaintiff makes the following misstatement:

“Furthermore, Melinda was Joseph’s spouse, his business partner in DuMouchelle

Jewellers, and a co-obligor under the exact debt that was the subject of Joseph’s

criminal conviction.” (Brief, Page 15). This simply is simply not true. Rather, this

appears to be a misuse of the colloquial term “partner” in a business, where Lindy’s

interest is legally defined as a “membership interest”, in order to argue that this

Court should also so-conflate the terms, and apply thus Bartenwerfer to this case.

       As Plaintiff himself points out (Brief, Page 3): Lindy was a 10% member of a

Michigan Limited Liability Company (Joseph DuMouchelle Fine & Estate Jewelers,

LLC). Lindy was and is not Joe’s business partner in a general partnership. This is

important, because the ruling in Bartenwerfer is based upon California law which

attributes vicarious liability to partners in a general partnership. Michigan law on

limited liability companies, and the liability of the members thereto, is quite the

opposite. In fact, MCL §450.4501(4) states, “Unless otherwise provided by law or

in an operating agreement, a person that is a member or manager, or both, of a limited

liability company is not liable for the acts, debts, or obligations of the limited liability

company.”

       Additionally, Plaintiff makes a few factual mistakes in his arguments, that



                                      Page 10 of 22
20-04381-lsg     Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26        Page 10 of 70
need to be addressed:

      For example, Plaintiff states that Lindy was “co-obligor under the exact debt

that was the subject of Joseph’s criminal conviction.” Contrary to this, the very

documents and emails that Plaintiff attaches to their First Amended Complaint,

attached here as Exhibits 6-A to 6-E, show that the dealings were entirely between

Joe and Plaintiff, not with Lindy, and that Plaintiff particularly took the time to send

an email acknowledging that Lindy was NOT party of the deal. Exhibit B.

      Additionally, Plaintiff states: “Melinda, admittedly, the only signer on the

Bank of America Account where Plaintiff’s money was held, moved Plaintiff’s

money from the Bank of America Account to pay other business and personal debts.

Exhibit 17.” (Brief, Page 19). This is also false. Lindy was not the only signer on

the account, nor did she state that in her discovery responses. Rather Lindy, in her

discovery response, stated, “Joe simply asked me to go to the bank and sign if

needed, as the only other signer on the account. Again, I had no knowledge of what

these transfers were for, why they were being made, etc. And none of that money

came to me.” (Plaintiff's Motion/Brief, Exhibit 17, Page 4 of 16) (bold/emphasis

added).

            Conclusion RE Response to Argument RE Bartenwerfer

      With it clarified that: (A) Bartenwerfer does not stand for the proposition that

11 U.S.C. §523(a)(2)(A) is now per se applied to all co-debtors of a fraud-related



                                     Page 11 of 22
20-04381-lsg    Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26      Page 11 of 70
debt; and (B) that Bartenwerfer is not applicable in this case, we turn our attention

to what is lacking in Plaintiff’s claims against Lindy.



                            FURTHER ARGUMENTS

Plaintiff Should Not Be Granted Summary Judgment under 11 U.S.C
§523(a)(2)(A), and Defendant Should be Granted Summary Judgment in Her
Favor

      Plaintiff is required to prove five (5) elements to succeed on a claim under 11

U.S.C §523(a)(2)(A), namely:

      (1) The debtor made false representations;
      (2) The debtor knew such representations to be false at the time they were
          made;
      (3) The representations were made with the intent to deceive the creditor;
      (4) The creditor relied on the representation; and
      (5) The creditor’s loss was the proximate result of the misrepresentation
          having been made.

      Kille v. Rudski (In re Rudski) 357 B.R. 121, 125 (Bankr. N.D. Ohio 2006)

(citing Rembert v AT&T Universal Card Servs., Inc. (In re Rembert), 141 F.3d 277,

280-81 (6th Cir.1998)).

      “For the purposes of § 523(a)(2)(A), false representations and pretenses

encompass statements that falsely purport to depict current or past facts. False

pretenses involves implied misrepresentation or conduct intended to create and

foster a false impression, as distinguished from a false representation which is an

express misrepresentation.” Haney v Copeland (In re Copeland), 291 B.R. 740, 760



                                    Page 12 of 22
20-04381-lsg    Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26    Page 12 of 70
(Bankr. E.D. Tenn. 2003) (citations and internal quotation marks omitted).

      According to Michigan law, if a material representation in question relates to

a future promise, the plaintiff’s cause of action lies in contract, not fraud. Hi-Way

Motor Co. v. Int’l Harvester Co., 398 Mich. 330, 336 (1976).

      Pursuant to Fed. R. Civ. P.9(b), made applicable to adversary proceedings by

Federal Rule of Bankruptcy Procedure 7009, “[a]verments of fraud must be stated

with particularity [and] the threshold test is whether the complaint places the

defendant on ‘sufficient notice of misrepresentation,’ allowing the defendant to

‘answer, addressing in an informed way plaintiffs (sic) claim of fraud.’” In re LTV

Steel Co., Inc., 288 B.R. 775, 780 (Bankr. N.D. Ohio 2002) (quoting Coffey v

Foamex L.P., 2 F.3d 157, 162 (6th Cir. 1993)).

      “As is the case with a claim under § 523(a)(2)(A) based on a false

representation, a creditor making a false pretenses claim under § 523(a)(2)(A) must

also establish materiality; intent; justifiable reliance; and causation.” Lenchner v.

Korn (In re Korn), 567 B.R. 280 (Bankr. E.D. Mich. 2017), referencing Tweedie v.

Hermoyian (In re Hermoyian), 466 B.R. 348, at 379 (Bankr. E.D. Mich. 2012)

(relying in part on Brann v. Oxford (In re Oxford), 440 B.R. 772, 777 (Bankr. W.D.

Ky. 2010) ).

      “[W]e hold that § 523(a)(2)(A) requires justifiable, but not reasonable,

reliance.” Field v. Mans, 516 U.S. 59, 116 S.Ct. 437, 133 L.Ed.2d 351 (1995), citing



                                    Page 13 of 22
20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26    Page 13 of 70
In re Vann, 67 F.3d 277 (CA11 1995); In re Kirsh, 973 F.2d 1454 (CA9 1992).

However, “It should go without saying that our analysis does not relegate all

reasoning from a negative pregnant to the rubbish heap, or render the reasonableness

of reliance wholly irrelevant under § 523(a)(2)(A).” Field v. Mans, 516 U.S. 59, 116

S.Ct. 437, 133 L.Ed.2d 351 (1995).

      Simply stated, Plaintiff has not alleged a single way in which Lindy made a

false representation to him, nor that he reasonably or justifiably relied upon it, nor

has Plaintiff demonstrated, with respect to Lindy, any “materiality; intent; justifiable

reliance; and causation.”

      The sum total of Plaintiff’s arguments is:

   A. that Lindy once forwarded him a third-party’s report (from the GIA, a

      nationally known and respected gemological association) regarding the

      Yellow Rose Diamond, and

   B. that Lindy, at the instruction of her husband, (while actually being annoyed

      with him for interrupting her trip), signed for counter-checks totalling about

      $5 million dollars, that Joe had arranged.

      Conversely, the facts established regarding Ritter’s interaction with Joe,

established by Plaintiff’s own North Dakota Findings of Fact and Conclusions of

Law, Exhibit G, are as follows:

             [33] By a letter agreement dated January 31, 2019, Ritter
             and DuMouchelle entered into an agreement that Ritter

                                      Page 14 of 22
20-04381-lsg    Doc 153     Filed 11/09/23 Entered 11/09/23 19:04:26     Page 14 of 70
           would purchase The Yellow Rose from the seller for $12
           million, and DuMouchelle would then facilitate the
           subsequent sale on Ritter's behalf. Based on the amount of
           profit, the money was to be divided between Ritter and
           DuMouchelle.
           [34] Between January 31, 2019, and February 5, 2019,
           DuMouchelle, by email, directed Ritter to wire money to
           purchase The Yellow Rose to various accounts, which
           DuMouchelle represented and Ritter believed was the
           account of the seller of The Yell ow Rose.

           [35] Ritter ultimately completed a wire transfer on
           February 6, 2019, to the Bank of America account of Fine
           & Estate Appraisers, LLC.

           [36] DuMouchelle later provided Ritter with a Receipt
           from Joseph DuMouchelle International Auctioneers
           dated February 6, 2019, for purchase of The Yell ow Rose
           for $12 million.

           [37] In March 2019, DuMouchelle represented to Ritter he
           had a buyer interested in purchasing The Yellow Rose
           from Ritter. Ritter expected he would sell The Yellow
           Rose to the buyer and the buyer would transmit the
           purchase funds directly to Ritter. Ritter emailed a draft
           agreement in conformity with this understanding to
           DuMouchelle on March 21, 2019.
           [38] DuMouchelle, as agent for Ritter, entered into a Letter
           Agreement dated April 12, 2019, for the subsequent sale
           of The Yellow Rose for $16.5 million with Sam Haggin,
           Trustee of the Jennifer H. Rands Trust, which was signed
           by Sam Haggin on April 19, 2019.

           [39] The agreement provided that payment for The Yellow
           Rose was to be made in full by wire transfer within ten
           (10) days of signing the agreement, which was executed
           on April 19, 2019.
           [40] Ritter has received neither The Yell ow Rose nor the
           proceeds from any sale of The Yellow Rose.

                                   Page 15 of 22
20-04381-lsg   Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26    Page 15 of 70
      That “Letter Agreement” is between Plaintiff and Joe personally, not between

Plaintiff and Joseph DuMouchelle Jewellers, nor is Lindy a party to that agreement

at all. Exhibit A.

      The email evidence shows that Ritter knew and intended that Lindy was not

a part of this deal. Exhibit B.

      Lindy had no reason to suspect that Joe was doing anything other than the

usual good business he had, at that point, been successful and esteemed at for at least

two decades. (Plaintiff’s Motion, Exhibit 2).

      In January and February of 2019, Plaintiff exchanged at least 3 emails with

Joe (not Lindy, and Lindy was not even CCed on them), in which Joe sent the wire

instructions to Plaintiff. Exhibits 6-C, 6-D, 6-E.

      Joe was prosecuted by the federal government for his involvement in this

transaction; Joe pleaded guilty; and Joe is doing 12 years in prison as a result.

Plaintiff, not Defendant, attaches numerous documents to their Motion, which

explain exactly how Joe interacted with Plaintiff to bring this about. See Plaintiff’s

Motion, Exhibits 6, 7, 8, 9, 10, 11, 12, 13.

      Based on the foregoing, Plaintiff does not have a claim against Lindy which

rises even remotely to the level of evidence required to maintain a claim against

Lindy under 11 U.S.C. §523(a)(2)(A), and Lindy should be granted summary

judgment in her favor on all counts related to §523(a)(2)(A).

                                     Page 16 of 22
20-04381-lsg    Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26     Page 16 of 70
Plaintiff Should Not Be Granted Summary Judgment under 11 U.S.C
§523(a)(4), and Defendant Should be Granted Summary Judgment in Her
Favor

      Section 523(a)(4) of the Bankruptcy Code states that “[a] discharge under

section 727... of this title does not discharge an individual debtor from any debt ...

for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or

larceny[.]” 11 U.S.C. § 523(a)(4).

      “This section essentially contains two different exceptions—one for fraud or

defalcation while acting in a fiduciary capacity and another for embezzlement or

larceny while acting in any capacity.” Kriescher v. Gibson (In re Gibson), 521 B.R.

645, 655 (Bankr. W.D. Wis. 2014), citing Bullock v. BankChampaign, N.A., 569

U.S. 267, 133 S.Ct. 1754 1760, 185 L.Ed.2d 922 (2013).

      The term “fiduciary capacity” in § 523(a)(4) has a special, narrow meaning:

             A debt is non-dischargeable as the result of defalcation when a
             preponderance of the evidence establishes: (1) a pre-existing
             fiduciary relationship, (2) a breach of that relationship, and (3)
             resulting loss. Bd. of Trustees v. Bucci (In re Bucci), 493 F.3d
             635, 642 (6th Cir.2007). In Davis [v. Aetna Acceptance Co. , 293
             U.S. 328, 331, 55 S.Ct. 151, 79 L.Ed. 393 (1934)], the Supreme
             Court instructed that the term “fiduciary capacity” is narrower
             here than it is in some other contexts: section 523(a)(4) covers
             only “express” or “technical trusts” and not trusts arising out of
             “the very act of wrongdoing.” 293 U.S. at 333, 55 S.Ct. 151.
             These “constructive trusts,” which arise ex maleficio (at the time
             the wrong is done), do not satisfy the “fiduciary capacity”
             requirement because the debtor was not “a trustee before the
             wrong.” Id. Establishing an “express” trust is straightforward.
             The creditor must demonstrate: “(1) an intent to create a trust;
             (2) a trustee; (3) a trust res; and (4) a definite beneficiary.

                                    Page 17 of 22
20-04381-lsg    Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26     Page 17 of 70
Patel v. Shamrock Floorcovering Servs., Inc. (In re Patel), 565 F.3d 963, 968 (6th

Cir. 2009) (emphasis added) (citation omitted); see also Commonwealth Land Title

Co. v. Blaszak (In re Blaszak), 397 F.3d 386, 391 (6th Cir. 2005) (citation omitted)

(“[T]he defalcation provision of § 523(a)(4) is limited to only those situations

involving an express or technical trust relationship arising from placement of a

specific res in the hands of the debtor.”).

      Moving on, “[i]n section 523(a)(4), the term 'while acting in a fiduciary

capacity' does not qualify the words 'embezzlement' or 'larceny.' Therefore, any debt

resulting from embezzlement or larceny falls within the exception of [§ 523(a)(4)].”

4 Collier on Bankruptcy ¶ 523.10[2], at 523–76 (Alan N. Resnick & Henry J.

Sommer eds., 16th ed. 2016) (citations omitted); see also Powers v. Powers (In re

Powers ), 385 B.R. 173, 178 (Bankr. S.D. Ohio 2008).

      Plaintiff has no argument that, has not avered that, and has no evidence to

support any claim that Lindy was ever in a fiduciary capacity with respect to him;

therefore, the first half of a claim under §523(a)(4) is not viable, and summary

Judgment should be granted to Lindy at least eliminating any such arguments/claims.

      Federal law defines “embezzlement” under section 523(a)(4) as “the

fraudulent appropriation of property by a person to whom such property has been

entrusted or into whose hands it has lawfully come.” A creditor proves

embezzlement by showing that he entrusted his property to the debtor, the debtor

                                     Page 18 of 22
20-04381-lsg    Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26   Page 18 of 70
appropriated the property for a use other than that for which it was entrusted, and the

circumstances indicate fraud. Brady v. McAllister (In re Brady), 101 F.3d 1165,

1172–73 (6th Cir. 1996).

      There really are no arguments that Lindy was ever entrusted with the money

or that it came into her hands; however, any such argument under §523(a)(4) would

fail because if Joe obtained the money fraudulently, there can be no argument that it

“lawfully” came into Lindy’s hands. Therefore, Lindy should be granted summary

judgment in the §523(a)(4) claims against her as it related to “embezzlement.”

      Regarding “larceny”, the contrast between embezzlement and larceny is best

summarized as follows:

             Larceny is different [from embezzlement] in that the
             original taking must have been unlawful, and is defined as
             "the fraudulent and wrongful taking and carrying away of
             the property of another with intent to convert such
             property to the taker's use without the consent of the
             owner."

      Williams v. Noblit (In re Noblit), 327 B.R. 307, 311 (Bankr. E.D. Mich. 2005)

(quoting Graffice v. Grim (In re Grim), 293 B.R. 156, 166 (Bankr. N.D. Ohio 2003)).

      Here, again, Plaintiff caused and assisted in Joe being criminally prosecuted

for fraudulently obtaining Plaintiff’s money. Plaintiff, again, attaches to his motion

a mountain of evidence about how Joe wrongfully obtained this money from

Plaintiff, not Lindy. See Plaintiff’s Motion, Exhibits 6, 7, 8, 9, 10, 11, 12, 13.

Plaintiff cannot now come to this Court and argue that it was Lindy, not Joe, who

                                     Page 19 of 22
20-04381-lsg    Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26     Page 19 of 70
wrongfully obtained money from Plaintiff.

      All of the above means one thing: Plaintiff has no argument, and has offered

no apparent argument, supporting his request for judgment against Lindy under 11

U.S.C. §523(a)(4) based upon either “fraud or defalcation while acting in a fiduciary

capacity”, nor upon “embezzlement” nor “larceny.”

                 Summary Judgment to the Non-Moving Party

      This Court may grant summary judgment to the non-moving party. Lisle v.

Metro. Gov't of Nashville and Davidson County, Tenn., Nos. 01-6049, 02-5706., 73

Fed. Appx. 782, 791 (6th Cir. July 9, 2003) (unpublished); see Celotex Corp. v.

Catrett, 477 U.S. 317, 326, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) (district court

may enter summary judgment sua sponte, "so long as the losing party was on notice

that she had to come forward with all her evidence."); In re Century Offshore Mgmt.

Corp., 119 F.3d 409, 412 (6th Cir. 1997) (holding summary judgment was

appropriate in favor of the non-moving party where the parties fully briefed the

determinative issue).

      WHEREFORE, Defendant, Melinda Adducci, respectfully requests that this

Honorable Court deny Plaintiff’s Motion for Summary Judgment Against Defendant

Melinda Adducci Under Counts III, V, And VIII of Plaintiff’s Second Amended

Complaint (“Motion”) and instead, grant summary judgment in her favor.




                                    Page 20 of 22
20-04381-lsg   Doc 153    Filed 11/09/23 Entered 11/09/23 19:04:26    Page 20 of 70
                                     Respectfully Submitted,
                                     JOHN R. FOLEY, P.C.
                                     Counsel for Defendant

     Dated: November 9, 2023         By: /s/ Patrick A. Foley
                                     Patrick A. Foley (P74323)
                                     18572 W. Outer Drive
                                     Dearborn, MI 48128
                                     Phone: (313) 274-7377
                                     Email: pafoley@jrfpc.net




                                   Page 21 of 22
20-04381-lsg   Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26   Page 21 of 70
                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION – DETROIT

In the Matter of:
 JOSEPH G. DUMOUCHELLE, and                         Bank. Case No. 19-54531-lsg
 MELINDA J. ADDUCCI,                                                  Chapter 7
                   Debtors.                               Hon. Lisa S. Gretchko

    THOMAS T. RITTER,                                 Adv. Pro. No. 20-04381-lsg
                          Plaintiff,                       Hon. Lisa S. Gretchko
    v.
    JOSEPH G. DUMOUCHELLE, and
    MELINDA J. ADDUCI,
                       Defendants.


                             PROOF OF SERVICE

      Patrick A. Foley hereby certifies that on November 9, 2023 he did serve a
copy of the foregoing Response and Objection to Motion for Summary Judgment,
upon the following parties via the Court’s CM/ECF e-Filing system:

•    Kimberly Ross Clayson      kclayson@taftlaw.com, ttorni@taftlaw.com
•    Jay L. Welford             jwelford@taftlaw.com, ttorni@taftlaw.com

                                       Respectfully Submitted,
                                       JOHN R. FOLEY, P.C.
                                       Counsel for Defendant

        Dated: November 9, 2023        By: /s/ Patrick A. Foley
                                       Patrick A. Foley (P74323)
                                       18572 W. Outer Drive
                                       Dearborn, MI 48128
                                       Phone: (313) 274-7377
                                       Email: pafoley@jrfpc.net




                                    Page 22 of 22
20-04381-lsg    Doc 153   Filed 11/09/23 Entered 11/09/23 19:04:26   Page 22 of 70
                    Exhibit                      A


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 23 of 70
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                    Exhibit                      B


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 26 of 70
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                    Exhibit                      C


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 28 of 70
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                    Exhibit                      D


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 30 of 70
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                     Exhibit                      E


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 32 of 70
Joseph DuMouchelle <Joe@josephdumouchelle.com>                                                                        Wed, Feb 6,
                                                                                                                            9:57 AM
to me

Hi Tom,

The information is below.

Thank you.

Sincerely,

Joe

Joseph DuMouchelle, G.G.
Estate Buyer -Appraiser — Auctioneer
Graduate Gemologist


Direct (313) 300-9166; Michigan 313-884-4800
Toll free 800-475-8898; NY 212-819-1899
www.josephdumouchelle.com



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contents of this message is strictly prohibited. If you have received this transmission in error, please reply to the sender, so that
proper delivery can be arranged, and please delete/discard this transmission.


From: Richard Drucker <rdrucker@gemguide.com>
Sent: Monday,           February 4, 2019 12:58 PM

Subject: report

To Confirm the wiring information is below.                          Please confirm receipt.

WIRE TRANSFER INFORMATION

Bank of America
Routing # NII
Account # HR:




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20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 34 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 35 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 36 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 37 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 38 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 39 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 40 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 41 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 42 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 43 of 70
20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 44 of 70
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20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 45 of 70
STATE OF NORTH DAKOTA                                                      IN DISTRICT COURT
COUNTY OF WILLIAMS                                          NORTHWEST JUDICIAL DISTRICT

Thomas T. Ritter,
                                                    Court File No.: 53-2019-CV-Ol l 86
                                 Plaintiff,
         vs.
                                                             FINDINGS OF FACT,
Joseph DuMouchelle,                                        CONCLUSIONS OF LAW,
Melinda Adducci a/k/a Melinda DuMouchelle,               AND ORDER FOR JUDGMENT
and Joseph DuMouchelle Fine & Estate
Jewellers, LLC,
                                 Defendant.


        [,-rl]   This matter is before the Court on Plaintiff Thomas T. Ritter's ("Ritter")

Application for Judgment by Default. The Court, now being fully advised, hereby finds:

                                       FINDINGS OF FACT

       [if2]     This action was commenced by personal service of a Summons and Complaint

upon attorney David de Reyna who was duly authorized to accept service of the Summons and

Complaint for Joseph DuMouchelle ("DuMouchelle") and Melinda Adducci a/k/a Melinda

DuMouchelle ("Adducci") and executed an Admission of Service. See Admission of Service

(Doc. ID #7). At the same time, the Summons and Complaint was personally served on David de

Reyna, as the Registered Agent of Joseph DuMouchelle Fine & Estate Jewellers, LLC on July

10, 2019. See Affidavit of Service (Doc. ID #8).

       [if3]     More than twenty-one (21) days have elapsed since service of the Summons and

Complaint upon Defendants and Plaintiff did not receive an Answer from Defendants nor did

Defendants make an appearance with the Court.

       [if4]     All of the allegations as contained in Plaintiffs Complaint (Doc ID# 1) are hereby

declared true and correct.




20-04381-lsg        Doc 153    Filed 11/09/23      Entered 11/09/23 19:04:26      Page 46 of 70
        [,5]     Defendants DuMouchelle and Adducci entered into· a Promissory Note with Ritter

dated February 12, 2014, which was executed by DuMouchelle and Adducci on February 19, 2014.

The pmpose of the Promissory Note was to purchase and resell jewelry. The Note provides:

                 At any time after the date of this Note until all amounts due hereunder are
                 repaid in full, [Plaintiff] reserves the right to demand security from
                 [Defendants DuMouchelle and Adducci] for the repayment of this Note.

The Note further provided Ritter with a first priority security interest in collateral valued in

aggregate at 150% of the outstanding balance. Compl., if 7.

        [,6]     The Note is to be interpreted according to the laws of North Dakota and specifically

granted jurisdiction to this Court as follows:

                 11. Governing Law and Venue: This Note is executed in, constitutes a
                 contract under and should be construed in accordance with the laws of the
                 State of North Dakota. Any dispute arising under or in connection with this
                 Note shall come within the jurisdiction of the state and/or federal courts
                 within Williams County, North Dakota and the Western District of North
                 Dakota.

Compl., 9iJ 8.

        [if7]    The Promissory Note provides upon default, Ritter may declare the entire unpaid

principal balance of the loan and all interest immediately due and payable. The Note further

provides Defendants DuMouchelle and Adducci shall be responsible for all costs, including court

costs and reasonable attorney's fees, incurred as a result of default under the Note. Compl., ,-r 9. A

copy of the Promissory Note was attached to the Complaint as Exhibit A. (Doc. ID #3).

        [9if8]   Interest on this Note in the amount of $80,000 plus the original amount of

$350,000 were combined for a new Note totaling $430,000, which was dated August 12, 2014.

Ritter Aff. , 6. This Note, in the principal amount of $430,000 was renewed and extended many

times for six (6) month terms with all principal and interest due on May 16 and November 16 of

each year. Id.




20-04381-lsg       Doc 153     Filed 11/09/23     2Entered 11/09/23 19:04:26        Page 47 of 70
        [,9]       On November 16, 2017, a Renewed and Extended Promissory Note effective May

16, 2017, came due requiring payment of the principal amount of$430,000 plus accrued interest

of $64,500. While negotiating an extension for the principal, DuMouchelle and Adducci agreed

to pay the existing accrned interest of $64,500. Ritter Aff. if 7. Despite their promises,

DuMouchelle and Adducci failed to pay the interest due on November 16, 2017, in the amount of

$64,500. Ritter Aff. if 9.

        [if l OJ   On or about January 17, 2018, DuMouchelle executed and delivered to Ritter a

Renewed and Extended Promissory Note effective November 16, 2017, in the amount of

$430,000.00, plus interest as provided for therein. Compl.,, 11.

        [ifll] The Renewed and Extended Promissory Note was to be paid in full on or before

May 16, 2018. Compl., 1 12. A copy of the Renewed and Extended Promissory Note was

attached to the Complaint as Exhibit B. (Doc. ID #4)

        [112] Defendants defaulted under the terms and conditions of the Renewed and Extended

Promissory Note. Compl., if 13.

        [if13] In early 2019, while communicating with DuMouchelle regarding the Renewed and

Extended Promissory Note, DuMouchelle informed Ritter of a possible investment opportunity.

DuMouchelle indicated there was an estate sale pending in Texas that included a 77.12-carat yellow

diamond ring, coined "The Yellow Rose." DuMouchelle, an expert in the field of gemstones,

explained he could purchase the ring for $12.5 million from the estate sale and subsequently sell the

ring for approximately $16 million to $20 million. Compl., if 14.

        [ir14] Defendant Adducci, who is DuMouchelle's spouse, also spoke to Ritter regarding

purchase of The Yellow Rose and indicated it would be a lucrative investment for all of the parties.

Defendant Adducci provided Ritter with photos and appraisal information regarding The Yellow

Rose by email on January 25, 2019. Compl., if 16.


20-04381-lsg         Doc 153    Filed 11/09/23   3Entered 11/09/23 19:04:26        Page 48 of 70
        [if15]    By a letter agreement dated January 31, 2019, Ritter and DuMouchelle entered into

an agreement that Ritter would purchase The Yellow Rose from the seller for $12 million, and

DuMouchelle would then facilitate the subsequent sale on Ritter's behalf. Based on the amount of

profit, the money was to be divided between Ritter and DuMouchelle. Compl., if 17. A copy of the

January 31, 2019, Letter Agreement was attached to the Complaint as Exhibit C. (Doc. ID #5).

        [if16]    Between January 31, 2019, and February 5, 2019, DuMouchelle, by email,

directed Ritter to wire money to purchase The Yellow Rose to various accounts, which

DuMouchelle represented and Ritter believed was the account of the seller of The Yellow Rose.

Compl., ifif 19-26.

        [irl 7]   Ritter ultimately completed a wire transfer on February 6, 2019, to the Bank of

America account of Fine & Estate Appraisers, LLC. Compl., if 27.

        [if 18]   DuMouchelle later provided Ritter with a Receipt from Joseph DuMouchelle

International Auctioneers dated February 6, 2019, for purchase of The Yellow Rose for $12 million.

Compl., if 29.

        [if19]    In March 2019, DuMouchelle represented to Ritter he had a buyer interested in

purchasing The Yellow Rose from Ritter. Ritter expected he would sell The Yellow Rose to the

buyer and the buyer would transmit the purchase funds directly to Ritter. Ritter emailed a draft

agreement in conformity with this understanding to DuMouchelle on March 21, 2019. Compl., if

32.

       [if20]     DuMouchelle, as agent for Ritter, entered into a Letter Agreement dated April 12,

2019, for the subsequent sale of The Yellow Rose for $16.5 million with Sam Haggin, Trustee of

the Jennifer H. Rands Trust, which was signed by Sam Haggin on April 19, 2019. Compl., if 33. A

copy of the April 12, 2019, letter agreement was attached to the Complaint as Exhibit D. (Doc. ID

#6).


20-04381-lsg        Doc 153     Filed 11/09/23 4Entered 11/09/23 19:04:26         Page 49 of 70
        [,21] The agreement provided that payment for The Yellow Rose was to be made in full

by wire transfer within ten (10) days of signing the agreement, which was executed on April 19,

2019. Compl., if 34.

        [-if22] Ritter has received neither The Yellow Rose nor the proceeds from any sale of

The Yellow Rose. Defendants have refused to return Ritter's funds or any profit earned on the

subsequent sale of The Yellow Rose. Ritter Aff. if 29. The Defendants have further refused to

communicate truthfully with Ritter regarding the location of The Yellow Rose or any details

regarding the purchase and subsequent sale of The Yellow Rose or provide an accounting

detailing the specific use of the funds transmitted by Ritter. Id.

        [if23] NOW, THEREFORE, based upon the foregoing Findings of Fact, the Court

hereby makes the following:

                                    CONCLUSIONS OF LAW

        [if24] This Court has jurisdiction over the parties and the subject matter of this action.

        [ir25] Defendants DuMouchelle and Adducci entered into a Promissory Note with Ritter

dated February 12, 2014, which was executed by DuMouchelle and Adducci on February 19, 2014.

The purpose of the Promissory Note was to purchase and resell jewelry.

        [if26] The Promissory Note provides that upon default, Ritter may declare the entire

lll1paid principal balance of the loan and all interest immediately due and payable. The Note further

provides Defendants DuMouchelle and Adducci shall be responsible for all costs, including court

costs and reasonable attorney's fees, incurred as a result of default under the Note.

        [if27] On November 16, 2017, a Renewed and Extended Promissory Note effective May

16, 2017, came due requiring payment of the principal amount of $430,000 plus accrued interest

of $64,500. An extension was negotiated in which DuMouchelle and Adducci agreed to pay the




20-04381-lsg      Doc 153      Filed 11/09/23 5Entered 11/09/23 19:04:26                Page 50 of 70
existing accrued interest of $64,500. DuMouchelle and Adducci failed to pay the accrued interest

of $64,500 as promised.

        [~28]     On or about January 17, 2018, DuMouchelle executed and delivered to Ritter a

Renewed and Extended Promissory Note effective November 16, 2017, in the amount of

$430,000.00, plus interest as provided for therein.

        [if29]    The Renewed and Extended Promissory Note was to be paid in full on or before

May 16, 2018.

        [if30]    Defendants defaulted under the terms and conditions of the Renewed and Extended

Promissory Note.

        [,-p 1]   In early 2019, while communicating with DuMouchelle regarding the Renewed and

Extended Promissory Note, which was now in default, DuMouchelle informed Ritter of a possible

investment opportunity. DuMouchelle indicated there was an estate sale pending in Texas that

included a 77.12-carat yellow diamond ring, coined "The Yellow Rose." DuMouchelle, an expert in

the field of gemstones, explained he could purchase the ring for $12.5 million from the estate sale

and subsequently sell the ring for approximately $16 million to $20 million.

        [if32] Defendant Adducci also spoke to Ritter regarding purchase of The Yellow Rose and

indicated it would be a lucrative investment for all of the parties. Defendant Adducci provided Ritter

with photos and appraisal information regarding The Yellow Rose by email on January 25, 2019.

        [if3 3] By a letter agreement dated January 31, 2019, Ritter and DuMouchelle entered into

an agreement that Ritter would purchase The Yellow Rose from the seller for $12 million, and

DuMouchelle would then facilitate the subsequent sale on Ritter's behalf. Based on the amount of

profit, the money was to be divided between Ritter and DuMouchelle.




20-04381-lsg        Doc 153     Filed 11/09/23 6Entered 11/09/23 19:04:26           Page 51 of 70
        [if34] Between January 31, 2019, and February 5, 2019, DuMouchelle, by email,

directed Ritter to wire money to purchase The Yell ow Rose to various accounts, which

DuMouchelle represented and Ritter believed was the account of the seller of The Yell ow Rose.

        [if35] Ritter ultimately completed a wire transfer on February 6, 2019, to the Bartle of

America account of Fine & Estate Appraisers, LLC.

        [if36] DuMouchelle later provided Ritter with a Receipt from Joseph DuMouchelle

International Auctioneers dated February 6, 2019, for purchase of The Yellow Rose for $12 million.

        [13 7] In March 2019, DuMouchelle represented to Ritter he had a buyer interested in

purchasing The Yellow Rose from Ritter. Ritter expected he would sell The Yellow Rose to the

buyer and the buyer would transmit the purchase funds directly to Ritter. Ritter emailed a draft

agreement in conformity with this understanding to DuMouchelle on March 21, 2019.

        [138]   DuMouchelle, as agent for Ritter, entered into a Letter Agreement dated April 12,

2019, for the subsequent sale of The Yellow Rose for $16.5 million with Sam Haggin, Trustee of

the Jennifer H. Rands Trust, which was signed by Sam Haggin on April 19, 2019.

        [139] The agreement provided that payment for The Yellow Rose was to be made in full

by wire transfer within ten (10) days of signing the agreement, which was executed on April 19,

2019.

        [if40] Ritter has received neither The Yell ow Rose nor the proceeds from any sale of

The Yellow Rose.

        [if4 l] Defendants have refused to return Ritter's funds or any profit earned on the

subsequent sale of The Yell ow Rose. The Defendants have further refused to communicate

truthfully with Ritter regarding the location of The Yell ow Rose or any details regarding the

purchase and subsequent sale of The Yellow Rose or provide an accounting detailing the specific

use of the funds transmitted by Ritter.


20-04381-lsg      Doc 153     Filed 11/09/23    7Entered 11/09/23 19:04:26       Page 52 of 70
        [,-r42] Defendants have breached their agreements with Plaintiff regarding the purchase

and subsequent sale of The Yellow Rose.

        [,-r4 3] Plaintiff Thomas T. Ritter shall be declared the prevailing party and is entitled to

attomey's fees, costs, and disbursements.

                                         ORDER FOR JUDGMENT

        [,-r44] IT IS HEREBY ORDERED:

        [,-r45] Plaintiffs Application for Default Judgment is hereby GRANTED.

        [,46] Defendants have breached their agreements with the Plaintiff regarding the

purchase and sale of The Yellow Rose and are hereby ordered to pay Plaintiff his damages

totaling $16,414,214.61 for the original purchase costs, commission and interest.

        [,-r4 7] Defendants defaulted on the Renewed and Extended Promissory Note and

Plaintiff is awarded his principal and interest due, which totals $725,817.01 as of August 31,

2019.

        [-if48] Plaintiff shall be declared the prevailing party and entitled to recover his costs and

disbursements as allowed.

        LET JUDGMENT BE ENTERED ACCORDINGLY.

        Dated this~- day of~------'' 2019.
                                                                 Signed: 9/12/2019 11 :32:54 AM
                                                                                                  Kirsten Sjue
                                                      BY THE COURT:


                                                        ~... ?r/.
                                                      Judge of the District Court




20-04381-lsg      Doc 153      Filed 11/09/23 8Entered 11/09/23 19:04:26              Page 53 of 70
                    Exhibit                      H


20-04381-lsg   Doc 153   Filed 11/09/23   Entered 11/09/23 19:04:26   Page 54 of 70
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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION – DETROIT

             IN THE MATTER OF:
              JOSEPH G. DUMOUCHELLE, and                                      Bankruptcy Case No. 19-54531
              MELINDA J. ADDUCCI,                                                     Hon. Lisa S. Gretchko
                                                                                                  Chapter 7
                                                    Debtors.

               THOMAS T. RITTER,                                                 Adv. Pro. No. 20-04381-pjs
                                                    Plaintiff,                        Hon. Lisa S. Gretchko
               v.
               JOSEPH G. DUMOUCHELLE, and
               MELINDA J. ADDUCCI,
                                 Defendants.


              DEFENDANTS’ RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS

                      NOW COME the Defendants, JOSEPH G. DUMOUCHELLE (“Joe”) and

             MELINDA J. ADDUCCI (“Melinda”) (collectively “Defendants”), by and through

             their counsel, JOHN R. FOLEY, P.C., who, in response to the Discovery Requests

             propounded by the Plaintiff, THOMAS T. RITTER, hereby state as follows:

                                                PRIVILEDGE / OBJECTIONS

                      Joe and Melinda are both the subject of actual or potential criminal

             proceedings. Joe has actually been prosecuted, but that litigation continues, and

             therefore, he asserts his Fifth Amendment Privilege in response to all requests made

             by Plaintiff herein. Further, with respect to any request that may call for documents

             or communication between he and Melinda (his wife), Joe asserts Marital/Spousal

                                                               Page 1 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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             Privilege, and with respect to any request that may call for documents or

             communications between he and his attorney, Joe asserts Attorney-Client Privilege.

                      Melinda has sought assurances, through her counsel, repeatedly, that she is

             not being pursued for prosecution. Melinda asserts her Fifth Amendment Privilege,

             and does not waive the same by answering these requests. Further, with respect to

             any request that may call for documents or communication between her and Joe (her

             husband), Melinda asserts Marital/Spousal Privilege, and with respect to any

             requests that may call for documents or communications between she and her

             attorney, Melinda asserts Attorney-Client Privilege. However, in an effort to be

             responsive, to move this case along, and to show that she did not participate in any

             fraudulent conduct as alleged, Melinda has provided responsive answers and

             documents. These responses are provided without wavier of her Fifth Amendment

             Privilege, her Attorney-Client Privilege, or her Marital/Spousal Privilege. and

             specific preservation of the same.

                                                     INTERROGATORIES

                  1. Provide the names of all current and prior members and officers (including

                      their titles) of DuMouchelle Jewellers, the date of admission of each member

                      and the term of each officership.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Joe was always a 90% member and I was a 10%


                                                              Page 2 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                                  member. Joe served as President. Melinda served as VP. I do not recall

                                  what date this was established on.

                  2. Provide a description of each expenditure, transfer and/or withdrawal made

                      (including the name and address of the recipient, the amount paid to such

                      recipient and the assets received or the liability paid in exchange therefor),

                      utilizing the proceeds received from Plaintiff with respect to the $350,000

                      Note and the alleged $80,000 profit realized on such proceeds.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I have no knowledge of these things. All funds

                                  would have gone in and out the bank account, and those statements,

                                  which can be obtained from the business case trustee, provide this

                                  information.

                  3. Provide a description of each expenditure, transfer and/or withdrawal made

                      (including the name and address of the recipient, the amount paid to such

                      recipient and the assets received or the liability paid in exchange therefor),

                      utilizing the $12 Million.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: All funds would have gone in and out the bank

                                  account, and those statements, which can be obtained from the business

                                  case trustee, provide this information. Further, I have attached hereto


                                                               Page 3 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                                  the copies of the counter-checks that were issued to certain

                                  clients/customers/vendors following the referenced deposit.

                  4. For each of the expenditures, transfers and/or withdrawals identified in your

                      response to Interrogatory Nos. 2 and 3, identity which of Defendants initiated,

                      caused, signed for or otherwise participated in each and which Defendants had

                      contemporaneous and/or after the fact knowledge of each.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I did negotiate or have knowledge of the reasons

                                  or details of any of the transfers made. Joe negotiated/calculated/

                                  effectuated any transfers. My only involvement was one day, while I

                                  was already in Tuscon, Arizona, for the AGA Gem Conference

                                  (Attachments 8 & 9) and Joe had missed the closing of the banks in

                                  Michigan, and the banks in Arizona were still open due to the time zone

                                  difference, Joe emailed the bank and setup the counter-checks/transfers

                                  (Attachments 1, 2, & 3) and called me and asked that I go to the bank

                                  and sign for them. (Attachments 4, 5, & 6). Joe simply asked me to go

                                  to the bank and sign if needed, as the only other signer on the account.

                                  Again, I had no knowledge of what these transfers were for, why they

                                  were being made, etc. And none of that money came to me.

                                     i. Per Exhibit 12 of your Complaint, the BOA bank statement


                                                               Page 4 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                              Doc
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                                        (Attachment           5)   there   are   three   “Customer   Withdraw

                                        Transactions” on 2/7/2019:




                                   ii. Also per Exhibit 13 of your Complaint, (Attachment 6) my

                                        signature are on these three withdraws.

                                  iii. The attached photos of the counter-checks (Attachment 4) show

                                        exactly where this money went:




                                  iv. As I said, I had no idea of the reasons why these transfers were

                                        being made. Rather, I did these at Joe’s request, and as I said,

                                        NONE of the money came to me.

                                                              Page 5 of 16
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              20-04381-lsg
               20-04381-lsg Doc
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                  5. Provide the names and last known addresses of each employee of

                      DuMouchelle Jewellers from January 1, 2017 through present date, including

                      Lauren Tobin, Olivia Rosema, Morgan Lynch, and Kevin Lynch, the term of

                      their employment and a summary of their job responsibilities.

                                    i. Joe Response: Joe asserts his Fifth Amendment Privilege.

                                   ii. Melinda Response:

                                             1. Lauren Tobin, 1290 Roslyn Rd., Grosse Pointe Woods, MI

                                                    48236, Phone: 313-310-4516, who was employed at

                                                    Joseph Dumouchelle Fine & Estate Jewellers LLC, during

                                                    time periods relevant to the facts of the situation giving

                                                    rise to the Complaint, and can testify to the same.

                                             2. Olivia Rosema, Phone: 313-770-7225, who was employed

                                                    at Joseph Dumouchelle Fine & Estate Jewellers LLC,

                                                    during time periods relevant to the facts of the situation

                                                    giving rise to the Complaint, and can testify to the same.

                                             3. Morgan Lynch, 25545 Packard St., Roseville, MI 48066,

                                                    Phone: 313-404-1316, who was employed at Joseph

                                                    Dumouchelle Fine & Estate Jewellers LLC, during time

                                                    periods relevant to the facts of the situation giving rise to

                                                    the Complaint, and can testify to the same.


                                                                Page 6 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                                              4. With respect to Kevin Lynch: Kevin was, to the best of my

                                                     recollection, never an “employee” of DuMouchelle

                                                     Jewelers. Rather, on various, very limited occasions,

                                                     Kevin would help his uncle (Joe) by assisting with

                                                     auctions and moving boxes. I do not know if he was even

                                                     paid for this, and if he was, it likely less than the $600 1099

                                                     requirement.

                                              5. Additional Employees: I recall that DuMouchelle

                                                     Jewellers had several additional employees, years ago;

                                                     however, I do not have access to the records, and therefore,

                                                     cannot recall the names of these people.

                  6. Identify all documents to which you referred, or will rely upon at the time of

                      trial, in support of any denials contained in your answer to Plaintiff’s

                      Amended Complaint.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           a. Melinda Response: All such documents are in possession of the

                                  bankruptcy trustees of the two (2) bankruptcy cases (our personal case

                                  and the business case), or the FBI. My attorney will need to obtain these

                                  through discovery. I intend to use any documents attached to pleadings

                                  in this case, (which are all accessible via CM/ECF), and/or any


                                                                 Page 7 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                              Doc
                                145-21
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                                  produced during initial disclosures, and/or any produced in response to

                                  these discovery requests (which I have attached), or later, if I locate any

                                  further responsive or relevant documents or obtain any such documents

                                  via discovery.

                  7. Identify all communications (name of person, whether by email, text or phone

                      and the substance of each communication) between either of Defendants and

                      any family members of Defendants (including children, in-laws, sisters,

                      brothers and parents) related to or touching upon the transactions by and

                      between either of Defendants and Plaintiff.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Melinda objections to this request as Overly broad,

                                  Vague, Ambiguous, and unduly burdensome as it is not limited in time

                                  scope. Subject to and without waiving her objections, Melinda states:

                                  None that I can recall or currently have in my possession. Except that I

                                  know I spoke to, and or texted/emailed with Joe, regarding having me

                                  sign for the transfers/counter-checks that in s Tucson. I have attached

                                  emails that are evidence of this.

                  8. Identify the exact location, description and value of all assets of Defendants

                      and of DuMouchelle Jewellers not within the custody of the trustees in

                      Defendants’ or DuMouchelle Jewellers bankruptcy cases, in existence as of


                                                                Page 8 of 16
             20-04381-lsg
              20-04381-lsg
               20-04381-lsg Doc
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                      the date of filing of Defendants’ and DuMouchelle Jewellers’ bankruptcy

                      proceedings, including all cash, certificates of deposit, jewelry, gems,

                      gemstones, real property, personal property, stocks, bonds, mutual funds,

                      cash, debit cards, crypto currencies, gift cards, and/or other cash equivalents

                      and safety deposit boxes and safes.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: All of my assets, and I believe all of those of Joe

                                  as well, and of the company (DuMouchelle Jewellers) were laid out in

                                  the bankruptcy case schedules and statements. Some were taken as non-

                                  exempt by the trustees of the 2 cases. All of the business assets were

                                  taken by the trustee in that case. I believe all real property was sold. I

                                  currently have minimal personal property that I own, including

                                  miscellaneous items of clothing, costume jewelry, and the standard

                                  household items like furnishing and kitchen wares, at the home where

                                  I live, which were either exempt in our personal bankruptcy case, or

                                  which we settled with the Trustee to allow us (now just me) to have, or

                                  which I have acquired since the bankruptcy filing, from my own

                                  earning.

                  9. State the complete name and address of the person who affixed the signature

                      of Sam Haggin to the document containing the alleged signature of Sam


                                                                Page 9 of 16
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             20-04381-lsg
              20-04381-lsgDoc
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                      Haggin.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Objection: this interrogatory is overly broad,

                                  vague, and ambiguous, since the Plaintiff fails to attach the document

                                  in question. Subject to and without waiving her objection(s), Melinda

                                  states: I do not know what document you are referencing. I have no

                                  knowledge about this. However, if there is a document that has Sam

                                  Haggin’s signature, my first presumption would be that she signed it. If

                                  the implication of this question is that she did not sign it, I truly have

                                  no idea about this.

                                      RESPONSES TO REQUESTS TO PRODUCE

                  1. Produce the Operating Agreement and all amendments to the same of

                       DuMouchelle Jewellers.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Any such documents would currently be in the

                                  possession of the Trustee of the bankruptcy case of that entity.

                  2. Produce all personal diaries of either of Defendants for the calendar years

                       2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.


                                                                Page 10 of 16
            20-04381-lsg
             20-04381-lsg
              20-04381-lsg Doc
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                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist.

                  3. Produce all physical calendars, daytimers or other writings evidencing the

                       activities of either of Defendants for the calendar years 2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.

                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist. Further, the office computers

                                  had a app called ACT that kept track of these things, but these

                                  computers were taken by the business case trustee.

                  4. Produce copies of all handwritten correspondence from either of Defendants

                       to any third party for the calendar years 2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.

                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist.

                  5. Produce all documents referenced in the “briefcase” of documents Defendant

                       Joseph intended to share with his criminal counsel, but never reviewed,

                       alleged to have existed in the filings made by Joseph in his criminal

                       proceeding.


                                                                Page 11 of 16
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             20-04381-lsg
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                               145-21
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                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and

                                  Attorney-Client Privilege.

                           b. Melinda Response: Melinda states: I do not know anything about this.

                  6. Produce the signature cards to the Bank of America Account.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I do not have any of these. They can be obtained

                                  from Bank of America.

                  7. Produce all documents you intend to rely upon at the time of trial.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege, and also

                                  relies on Melinda’s response.

                           b. Melinda Response: All such documents are in possession of the

                                  bankruptcy trustees of the two (2) bankruptcy cases (our personal case

                                  and the business case), or the FBI. My attorney will need to obtain these

                                  through discovery. I intend to use any documents attached to pleadings

                                  in this case, (which are all accessible via CM/ECF), and any produced

                                  during initial disclosures, and any produced in response to these

                                  discovery requests (Attachments 1 – 9 hereto), or later, if I locate any

                                  further responsive documents or documents relevant to my defense or

                                  obtain any such documents via discovery.

                  8. Produce all communications in Defendant’s possession between Plaintiff and


                                                               Page 12 of 16
            20-04381-lsg
             20-04381-lsg
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                       either of Defendants.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege. Joe further

                                  objects to this request as Overly broad, Vague, Ambiguous, and unduly

                                  burdensome as it is not limited in scope of time.

                           b. Melinda Response: Melinda objects to this request as overly broad and

                                  unduly burdensome as it is not limited in scope of time. However,

                                  subject to and without waiving her objections, Melinda states: To the

                                  best of my current knowledge, I do not have any access to any emails

                                  between Plaintiff and me. However, I do not believe, using the time

                                  frame 2018-2022 (as limited in other requests), that I had any direct

                                  communication between me and Plaintiff, other than the email attached

                                  to your Complaint.

                  9. Produce all documents referenced or relied upon in preparing your responses

                       to the Interrogatories.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and

                                  Attorney-Client Privilege and Marital/Spousal Privilege, to the extent

                                  that any communication between her and her attorney, or her and her

                                  husband, could be deemed to have been “relied on” in preparation of

                                  these responses.

                           b. Melinda Response: Melinda asserts Attorney-Client Privilege and


                                                               Page 13 of 16
            20-04381-lsg
             20-04381-lsg
              20-04381-lsg Doc
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                                  Marital/Spousal Privilege to the extent that any communication

                                  between her and her attorney, or her and her husband, could be deemed

                                  to have been “relied on” in preparation of these responses. Subject to

                                  and without waiving those privileges, Melinda states: All relevant

                                  business documents were taken by the Trustee of the Business Case.

                                  The minimal documents I do have, to the extent responsive hereto, or

                                  relevant to this case (and to the extent not yet obtained from other third

                                  parties), I have produced either in my initial disclosures, or attached to

                                  pleadings in this case, or I have attached them to these responses.




                                                           VERIFICATION

               By signing below, I swear and affirm that the foregoing responses to discovery
               are true and accurate to the best of my knowledge, information, and belief.

                                                                                

                        Melinda ADDUCCI                                               Date
                        as to her answers/responses only.




                                                                Page 14 of 16
            20-04381-lsg
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                                                                    Respectfully submitted,
                                                                    JOHN R. FOLEY, P.C.
                                                                    Counsel for Defendants


                                                                    By: /s/Patrick A. Foley
                                                                    Patrick A. Foley (P74323)
                                                                    18572 W. Outer Drive
                                                                    Dearborn, MI 48128
                                                                    Phone: (313) 274-7377
                                                                    Email: pfoley@jrfpc.net
                      Dated: January 26, 2023




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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION – DETROIT

             IN THE MATTER OF:
              JOSEPH G. DUMOUCHELLE, and                                       Bankruptcy Case No. 19-54531
              MELINDA J. ADDUCCI,                                                    Hon. Phillip J. Shefferly
                                                                                                    Chapter 7
                                                    Debtors.

               THOMAS T. RITTER,                                                  Adv. Pro. No. 20-04381-pjs
                                                    Plaintiff,                      Hon. Phillip J. Shefferly
               v.
               JOSEPH G. DUMOUCHELLE, and
               MELINDA J. ADDUCCI,
                                 Defendants.


                                                       PROOF OF SERVICE

                    Patrick A. Foley hereby certifies that on January 26, 2023 he did serve a copy
             of the foregoing discovery responses, upon counsel for the Plaintiff, THOMAS R.
             RITTER by emailing a copy of the same, via the Court’s CM/ECF e-Filing System
             to:
                    Attorney Jay L. Welford - Email: jwelford@jaffelaw.com


                                                                     Respectfully submitted,
                                                                     JOHN R. FOLEY, P.C.
                                                                     Counsel for Defendants

                                                                     By: /s/Patrick A. Foley
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                                                               Page 16 of 16
            20-04381-lsg
             20-04381-lsg
              20-04381-lsg Doc
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